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_UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND
~Greenbelt Division—

KILMAR ARMANDO ABREGO GARCIA,
ET AL.,

Plaintiffs, Case No.: 8:25-CV-00951-PX
¥.

KRISTI NOEM, ET AL., ©

Defendants.

STIPULATED CONFIDENTIALITY ORDER
Whereas, the parties have stipulated that certain discovery material be treated for the
purposes of this litigation as Confidential ot Attorney’s Eyes Only;
Accordingly, it is this 21st day of April, 2025, by the United States District Court for the
District of Maryland, ORDERED:

I. Designation of Discovery Materials as Confidential or Attorney’s Eyes Only. All

documents produced in the course of discovery, all responses to Interrogatories, all responses to
’ Requests for Admission, all responses to Requests for Production, and all deposition testimony
and deposition exhibits shall be subject to this Confidentiality Order, as set forth below:
(a) The designation of confidential or attorney’s eyes only information shall be made
by placing or affixing on the document, in a manner which will not interfere with its
legibility, the word “CONFIDENTIAL” or “ATTORNEY’S EYES ONLY.”
(b) Material is “Confidential” under this order only when a party has a good faith belief
_ that it contains (i) personally identifying information, including without limitation social

security numbers, financial information, current or past home addresses, email addresses
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and telephone numbers, including those associated with Plaintiffs or their immediate
families, and Defendants; (ii) information protected from disclosure by the Privacy Act of
1974, 5 U.S.C. § 552a; or (111) information kept confidential pursuant to law or regulation.
(c) Material is “Attorney’s Eyes Only” under this order only when a party has a good
faith belief that it contains sensitive government information, including sensitive, but .
unclassified, records regarding law enforcement activities and operations, internal policies,
processes and procedures, training materials, staffing, priorities, resources, intelligence,
methods, and internal investigations, which contain information that is law enforcement
sensitive and may be designated as limited official use or for official use only information,
or if the producing party reasonably and in good faith believes disclosure to non-qualified
people under subsection (g) would likely cause harm.

(d) Portions of depositions shall be deemed Confidential or Attorney’s Eyes Only if
they are designated as such when the deposition is taken or within seven business days
after receipt of the transcript and only to the extent they contain material designated as
Confidential or Attorney’s Eyes Only. Any testimony which describes material designated
as Confidential or Attorney’s Eyes Only shall also be deemed to be designated as
“CONFIDENTIAL” or “ATTORNEY’S EYES ONLY.”

(e) Material designated as Confidential or Attorney’s Eyes Only under this Order shall
not be used or disclosed by the parties or counsel for the parties or any persons identified
in subparagraph (f) below for any purposes whatsoever other than preparing for and

conducting the litigation in which the information or documents were disclosed (including

appeals).
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(f)

The parties and counsel for the parties shall not disclose or permit the disclosure of

any documents or information designated as Confidential or Attorney’s Eyes Only under

this Order to any other person or entity, except that disclosures may be made in the

following circumstances:

(g)

(i) Disclosure may be made to counsel and employees of counsel for the parties

who have direct functional responsibility for the preparation and trial of the lawsuit.

‘Any such employee to whom counsel for the parties makes a disclosure shall be -

provided with a copy of, and become subject to, the provisions of this Order
requiring that the documents and information be held in confidence.

(ii) Disclosure may be made only to employees of a party required in good faith ~
to provide assistance in the conduct of the litigation in which the information was
disclosed.

(iii) | Disclosure may be made to court reporters engaged for depositions and
those persons, if any, specifically engaged for the limited purpose of making
photocopies of documents.

(iv) Disclosure may be made to consultants, investigators, or expeits
(hereinafter referred to collectively as “experts”) employed by the parties or counsel
for the parties to assist in the preparation and trial of the lawsuit. Prior to disclosure
to any expert, the expert must be informed of and agree in writing to be subject to
the provisions of this Order requiring that the documents and information be held
in confidence.

The parties and counsel for the parties shall not disclose or permit the disclosure of

any documents or information designated as Attorney’s Eyes Only under this Order to any
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other person or entity, except that disclosures may be made to those designated under
subsection (f)(i) or in depositions of Government witnesses.

(h) Except as provided in subparagraph (e) above, counsel for the parties shall keep all
documents designated as Confidential or Attorney’s Eyes Only which are received under
this Order secure within their exclusive possession and shall take reasonable efforts to place
such documents in a secure area,

(a) All copies, duplicates, extracts, summaries, or descriptions (hereinafter referred to
collectively as “copies”) of documents or information designated as Confidential or
Attorney’s Eyes Only under this Order or any portion thereof shall be immediately affixed
with the word “CONFIDENTIAL” or “ATTORNEY’S EYES ONLY” if those words do
not already appear.

2. Confidential or Attorney’s Eyes Only Information Filed with Court. To the extent

that any materials designated as Confidential or Attorney’s Eyes Only under this Confidentiality
Order (or any pleading, motion, or memorandum disclosing them) are proposed to be filed or are
filed with the Court, the portions of those materials containing Confidential or Attorney’s Eyes
Only information shall be redacted by the filing party. Non-redacted versions shall be filed under
seal (by the filing party) with the Clerk of the Court with a simultaneous motion pursuant to L.R.
104.13(c¢) (hereinafter the “Interim Sealing Motion”), in accordance with the current version of the
Court’s Electronic Filing Requirements and Procedures for Civil Cases. The Interim Sealing
Motion shall be governed by L.R. 105.11, provided that the Court can deny an Interim Sealing
Motion prior to 14 days in part or in full. Even if the filing party believes that the materials
designated as Confidential or Attorney’s Eyes Only are not properly classified as Confidential or

Attorney’s Eyes Only, the filing party shall file the Interim Sealing Motion; provided, however,
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that the filing of the Interim Sealing Motion shall be wholly without prejudice to the filing party’s
rights under paragraph (4) of this Confidentiality Order.

3. Party Seeking Greater Protection Must Obtain Further Order. No information may

be withheld from discovery on the ground that the material to be disclosed requires protection

greater than that afforded by paragraph (1) of this Order without further order.

4. Challenging Designation of Confidentiality. A designation of Confidentiality or
Attorney’s Eyes Only may be challenged upon motion. The burden of proving the Confidentiality
or Attorney’s Eyes Only designation is warranted remains with the designating party. The
provisions of Fed. R. Civ. P. 37(a)(5) apply to such motions. For the avoidance of doubt, Plaintiffs
reserve the right to object to categories of designations on the schedule and manner provided for
in the Court’s order and oral comments of April 15th concerning the procedures for discovery in
this matter.

5. Return_of ‘Confidential and Attorney’s Eyes Only Material at Conclusion of |
Litigation. At the conclusion of the litigation (including appeals), all material designated as .
Confidential or Attorney’s Eyes Only under this Order and not received in evidence shall be
returned to the originating party. If the parties so stipulate, the material may be destroyed instead
of being returned. The Clerk of the'Court may return to counsel for the parties, or destroy, any

sealed material at the end of the litigation, including any appeals. —
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By: /s/ Jonathan G. Cooper . Yaakov M, Roth

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Paula Xinis

UNITED STATES DISTRICT JUDGE
